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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


LEE BATES                                                                   CIVIL ACTION

VERSUS                                                                             NO. 11-51

TRANSUNION LLC, ET AL.                                                           SECTION I


                                            ORDER

       Considering the stipulation1 of dismissal without prejudice,

       IT IS ORDERED that all claims of plaintiff, Lee Bates, against defendant, Equifax

Information Services LLC, are DISMISSED WITHOUT PREJUDICE, each party to bear its

own costs.



       New Orleans, Louisiana, August 30, 2011.




                                                         LANCE M. AFRICK
                                                    UNITED STATES DISTRICT JUDGE




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        R. Doc. No. 22.
